143 F.3d 479
    98 Cal. Daily Op. Serv. 3189, 98 Daily JournalD.A.R. 10,111,98 Daily Journal D.A.R. 4399UNITED STATES of America, Plaintiff-Appellee,v.Michael Curtis KEYS, Defendant-Appellant.
    No. 93-50281.
    United States Court of Appeals,Ninth Circuit.
    Decided Jan. 20, 1998.Amended April 29, 1998.
    ORDER
    
      1
      The motion of the United States to reinstate portions of the three-judge panel opinion reported at 67 F.3d 801 (9th Cir.1995) is GRANTED.  The Opinion filed January 20, 1998, slip op. 563, and appearing at 133 F.3d 1282 (9th Cir.1998), is therefore amended as follows:
    
    
      2
      Slip op. page 573, line 17, 133 F.3d at 1286, immediately before "We agree with Judge Kleinfeld's analysis ...";  is amended to add as footnote # 1 this language:
    
    
      3
      1.  Because we now affirm Keys's conviction of perjury, we reinstate and reaffirm the parts of the original three-judge panel opinion rejecting his claims of substantive and sentencing error, specifically Part II, C. and D.
    
    
      4
      The defendant-appellant's request for rehearing is DENIED.
    
    